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           EXHIBIT B
       Case 3:23-cv-02128-JKM Document 1-3 Filed 12/22/23 Page 2 of 62




Michael S. Friedman, Esq. (PA#88228)
JACKSON LEWIS P.C.
Three Parkway
1601 Cherry Street, Suite 1350
Philadelphia, PA 19102
(267) 319-7802
ATTORNEYS FOR DEFENDANTS

                          IN THE COURT OF COMMON PLEAS
                               FOR LACKAWANNA COUNTY
 DENNIS ROSS and ANGELA SCHUH, on
 behalf of themselves and all others similarly
 situated,                                     CIVIL ACTION NO.: 23-cv-05082

                            Plaintiffs,   NOTICE OF FILING OF NOTICE OF
                                          REMOVAL OF A CIVIL ACTION
       v.                                 FROM THE COURT OF COMMON
                                          PLEAS OF LACKAWANNA COUNTY,
 COMMUNITY HEALTH SYSTEMS,                PENNSYLVANIA
 INC., CHSPSC, LLC, WILKES-BARRE
 HOSPITAL COMPANY, LLC, d/b/a
 COMMONWEALTH HEALTH, MOSES
 TAYLOR HOSPITAL, REGIONAL
 HOSPITAL OF SCRANTON,
 SCRANTON HOSPITAL COMPANY,
 LLC, and WILKES-BARRE GENERAL
 HOSPITAL,

                            Defendants.


To:   Clerk of Judicial Records
      Court of Common Pleas, Lackawanna County
      Civil Division
      Lackawanna County Government Center
      123 Wyoming Avenue
      Scranton, PA 18503

      Richard Shenkan
      SHENKAN INJURY LAWYERS, LLC
      P.O. Box 7255
      New Castle, PA 16107

      PLEASE TAKE NOTICE that Defendants, Community Health Systems, Inc., CHSPSC,

LLC, Wilkes-Barre Hospital Company, LLC, d/b/a Commonwealth Health, Moses Taylor
        Case 3:23-cv-02128-JKM Document 1-3 Filed 12/22/23 Page 3 of 62




Hospital, Regional Hospital of Scranton, Scranton Hospital Company, LLC, and Wilkes-Barre

General Hospital, (collectively, “Defendants”), have filed a notice and petition for removal of this

action to the United States District Court for the Middle District of Pennsylvania on or around

December 22, 2023. A copy of the notice and petition filed with the United States District Court

is submitted herewith as Exhibit A.

       PLEASE TAKE FURTHER NOTICE that Defendants hereby file a copy of their notice

and petition with the Court of Common Pleas, Lackawanna County in accordance with 28 U.S.C.

§ 1446(d).



                                                     Respectfully submitted,

                                                     JACKSON LEWIS P.C.


                                                     _______________________________
                                                     Michael S. Friedman (PA ID 88228)
                                                     Three Parkway
                                                     1601 Cherry St., Suite 1350
                                                     Philadelphia, PA 19102
                                                     T: (267) 319-7802
                                                     F: (215) 399-2249
                                                     Michael.Friedman@jacksonlewis.com

                                                     ATTORNEYS FOR DEFENDANTS
Dated: December 22, 2023




                                                 2
          Case 3:23-cv-02128-JKM Document 1-3 Filed 12/22/23 Page 4 of 62




Michael S. Friedman, Esq. (PA#88228)
JACKSON LEWIS P.C.
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1601 Cherry Street, Suite 1350
Philadelphia, PA 19102
(267) 319-7802
ATTORNEYS FOR DEFENDANTS

                          IN THE COURT OF COMMON PLEAS
                               FOR LACKAWANNA COUNTY
 DENNIS ROSS and ANGELA SCHUH, on
 behalf of themselves and all others similarly
 situated,

                                Plaintiffs,
          v.                                             CIVIL ACTION NO.: 23-cv-05082

 COMMUNITY HEALTH SYSTEMS,
 INC., CHSPSC, LLC, WILKES-BARRE
 HOSPITAL COMPANY, LLC, d/b/a
 COMMONWEALTH HEALTH, MOSES
 TAYLOR HOSPITAL, REGIONAL
 HOSPITAL OF SCRANTON,
 SCRANTON HOSPITAL COMPANY,
 LLC, and WILKES-BARRE GENERAL
 HOSPITAL,

                                Defendants.


                                 CERTIFICATE OF SERVICE

         I hereby certify that on December 22, 2023, I caused to be served Defendants’ Notice of

Filing of a Petition for Removal and this Certificate of service were served upon Plaintiffs’ counsel,

Richard Shenkan, Esquire, at his address located at P.O. Box 7255, New Castle, PA 16107 via

overnight mail on this 22nd day of December, 2023.

                                                      JACKSON LEWIS P.C.


                                                      ____________________________
                                                      Michael S. Friedman
4874-9332-3928, v. 1


                                                  3
Case 3:23-cv-02128-JKM Document 1-3 Filed 12/22/23 Page 5 of 62




             EXHIBIT A
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                UNITED STATES DISTRICT COURT
           FOR THE MIDDLE DISTRICT OF PENNSYLVANIA


DENNIS ROSS and ANGELA SCHUH,
on behalf of themselves and all others
similarly situated,

                          Plaintiffs,
                                         Civil Action No.: 23-cv-05082
      v.

COMMUNITY HEALTH SYSTEMS,
INC., CHSPSC, LLC, WILKES-BARRE
HOSPITAL COMPANY, LLC, d/b/a
COMMONWEALTH HEALTH,
MOSES TAYLOR HOSPITAL,
REGIONAL HOSPITAL OF
SCRANTON, SCRANTON HOSPITAL
COMPANY, LLC, and WILKES-
BARRE GENERAL HOSPITAL,

                          Defendants.


                NOTICE AND PETITION FOR REMOVAL

TO: Clerk’s Office
    U.S. District Court
    Middle District of Pennsylvania
    235 N. Washington Avenue
    Scranton, PA 18501-1148

     Richard Shenkan
     SHENKAN INJURY LAWYERS, LLC
     P.O. Box 7255
     New Castle, PA 16107

     Attorney for Plaintiff
       Case 3:23-cv-02128-JKM Document 1-3 Filed 12/22/23 Page 7 of 62




      Pursuant to 28 U.S.C. §§ 1331, 1332(d), 1441, and 1446 Defendants

Community Health Systems, Inc., CHSPSC, LLC, Wilkes-Barre Hospital Company,

LLC, d/b/a Commonwealth Health, Moses Taylor Hospital, Regional Hospital of

Scranton, Scranton Hospital Company, LLC, and Wilkes-Barre General Hospital

(collectively, “Defendants”) hereby remove this action filed by Dennis Ross and

Angela Schuh, on behalf of themselves and all others similarly situated from the

Court of Common Pleas of Lackawanna County, Pennsylvania, Civ. No. 23-cv-

05082, to the United States District Court for the Middle District of Pennsylvania.

                                     JURISDICTION

      1.     This is a civil action over which the Court has original subject matter

jurisdiction under 28 U.S.C. § 1332. Removal is proper under the Class Action

Fairness Act of 2005 (“CAFA”), codified in pertinent part at 28 U.S.C. § 1332(d).

      2.     Pursuant to 28 U.S.C. § 1331, this Court also has original subject matter

jurisdiction over Plaintiffs’ claims that arise under the laws of the United States.

      3.     This Court is in the judicial district and division embracing the place

where the state court case was brought and is pending. Thus, this Court is the proper

district court to which this case should be removed. 28 U.S.C. §§ 1441(a), 1446(a).

                 BACKGROUND AND TIMLINESS OF REMOVAL

      4.     Plaintiffs instituted this action on or about November 28, 2023, in the

Court of Common Pleas of Lackawanna County, Civ. No. 23-cv-05082 (hereinafter
                                           2
       Case 3:23-cv-02128-JKM Document 1-3 Filed 12/22/23 Page 8 of 62




referred to as the “State Court Action”), naming Community Health Systems, Inc.,

CHSPSC, LLC, Wilkes-Barre Hospital Company, LLC, d/b/a Commonwealth

Health, Moses Taylor Hospital, Regional Hospital of Scranton, Scranton Hospital

Company, LLC, and Wilkes-Barre General Hospital as the Defendants.

      5.    On December 5, 2023, Plaintiffs served Defendants with copies of the

Summons and Complaint. Pursuant to 28 U.S.C. § 1446(a), all process, pleadings,

and orders that have been filed and served in the State Court Action are attached to

this Notice as Exhibit A.

      6.    Defendants have not served any answer or responsive pleading to the

Complaint, nor have they made any appearance or argument before the State Court.

This Notice has been filed with this Court within thirty (30) days of service of the

Class Action Complaint, Praecipe Re: Filing of Proof of Service upon Community

Health Systems, Inc., CHSPSC, LLC, Wilkes-Barre Hospital Company,

Commonwealth Health, Moses Taylor Hospital, Regional Hospital of Scranton,

Scranton Hospital Company, LLC, and Wilkes-Barre General Hospital.

                   FEDERAL QUESTION JURISDICTION

      7.    Plaintiffs allege that Defendants violated the Health Insurance

Portability and Accountability Act of 1996 (“HIPAA”), 42 U.S.C. § 1302(d), et seq.;

the HIPAA Privacy Rule and HIPAA Security Rule, 45 C.F.R. Part 160 and Part

164, Subparts A, C, and E; and Section 5 of the FTC Act, 15 U.S.C. § 45(a)(1).


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       Case 3:23-cv-02128-JKM Document 1-3 Filed 12/22/23 Page 9 of 62




[Compl., ¶¶ 65-82, 121-32.] The Complaint alleges that these violations stem from

Defendants’ “failing to use reasonable measures to protect [Plaintiffs’] PII and PHI

and not complying with industry standards” and that Defendants’ violations of

HIPAA and Section 5 of the FTCA “constitutes negligence per se.” [Id.]

      8.     Accordingly, this Court has original jurisdiction over Plaintiffs’ claims

under 28 U.S.C. § 1331, by virtue of the federal question arising out of Plaintiffs’

claims under HIPAA and Section 5 of the FTC Act.

                                CAFA JURISDICTION

      9.     Basis of Original Jurisdiction. This Court also has original jurisdiction

over this action under CAFA (codified in pertinent part at 28 U.S.C. § 1332(d)).

Section 1332(d) provides that a district court shall have original jurisdiction over a

class action with one hundred (100) or more putative class members in which the

matter in controversy, in the aggregate, exceeds the sum or value of $5,000,000, and

any member of the putative class is citizen of a different state than that of any

defendant. § 1332(d)(1)-(2)(A); See Walsh v. Defs., Inc., 894 F.3d 583, 586 (3d Cir.

2018); Kelly v. Verizon Pa., LLC, No. 16-5672, 2019 U.S. Dist. LEXIS 22382, at

*8-9 (E.D. Pa. Feb. 11, 2019) (“CAFA provides that diversity is satisfied if any

member of a class of plaintiffs is a citizen of a State different from any defendant.”)

(internal citations omitted).

      10.    As set forth below, pursuant to 28 U.S.C. § 1332(d) and § 1441(a),


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       Case 3:23-cv-02128-JKM Document 1-3 Filed 12/22/23 Page 10 of 62




Defendants may remove the State Court Action to federal court under CAFA

because: (1) this action is pled as a class action; (2) the putative class includes more

than one hundred (100) members; (3) "minimal diversity" exists, i.e., members of

the putative class are citizens of a state different from any Defendant; and (4) the

matter in controversy, in the aggregate, exceeds the sum or value of $5,000,000,

exclusive of interest and costs. See Ramirez v. Vintage Pharms., LLC, 852 F.3d 324,

328 (3d Cir. 2017).

                THIS ACTION IS PLED AS A CLASS ACTION

      11.    CAFA defines a "class action" as "any civil action filed under rule 23

of the Federal Rules of Civil Procedure or similar State statute or rule of judicial

procedure authorizing an action to be brought by 1 or more representative persons

as a class action." 28 U.S.C. § 1332(d)(1)(B).

      12.    Plaintiffs bring this action as a "class action" and seek class certification

under Pennsylvania law. [Compl. ¶¶ 99-110.] This satisfies the first element of

CAFA.

  THE PUTATIVE CLASS INCLUDES AT LEAST ONE HUNDRED (100)

                                     MEMBERS

      13.    Plaintiffs allege that “Defendants reported a Data Breach to OCR” and

that “Defendant CHSPSC issued a supplemental notice…indicating the Data Breach

was larger than initially reported and actually impacted approximately 1,173,000


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      Case 3:23-cv-02128-JKM Document 1-3 Filed 12/22/23 Page 11 of 62




individuals.” [Compl. ¶¶ 60-63.] Thus, there are far more than the 100 putative class

members required under CAFA.

            “MINIMAL DIVERSITY” OF CITIZENSHIP EXISTS

      14.    This action is removed to this Court on the grounds of diversity of

citizenship pursuant to 28 U.S.C. § 1332(d), CAFA.

      15.    The Complaint is pleaded as a putative class action in which Plaintiffs

seek to represent all individuals: “(1) whose PII and/or PHI was collected or

maintained in Pennsylvania by [Defendants], and, (2) whose PII and/or PHI was

compromised in the Data breach that occurred between on or about January 28 and

January 30, 2023 or to whom any Defendant sent a letter, to a mailing address in

Pennsylvania…” [Compl. ¶ 99.]

      16.    Plaintiffs are citizens of the Commonwealth of Pennsylvania within the

meaning of 28 U.S.C. Section 1332(d). [Compl. ¶¶ 10-11.]

      17.    Defendant CHS is a Delaware corporation with its principal place of

business at 4000 Meridian Boulevard, Franklin, TN 37067. [Compl. ¶ 13.]

Defendant CHSPSC is a Delaware LLC with its principal place of business also at

4000 Meridian Boulevard, Franklin, TN 37067. [Compl. ¶ 14.]

      18.    “Minimal Diversity” is satisfied in this case.

THE AMOUNT IN CONTROVERSY EXCEEDS THE CAFA THRESHOLD

      19.    Plaintiffs have not alleged a specific amount in controversy in the


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       Case 3:23-cv-02128-JKM Document 1-3 Filed 12/22/23 Page 12 of 62




Complaint. Accordingly, the case must be remanded only if it appears to a legal

certainty that the plaintiff cannot recover the jurisdictional amount. Frederico v.

Home Depot, 507 F.3d 188, 197 (3d Cir. 2007). Under the “legal certainty test,”

“[w]hen it appears to a legal certainty that the plaintiff was never entitled to recover

the jurisdictional amount, the case must be dismissed.” Id. at 194 (citing Packard v.

Provident Nat’l Bank, 994 F.2d 1039, 1046 (3d Cir. 1993); Meritcare, Inc. v. St.

Paul Mercury Ins. Co., 166 F.3d 214, 217 (3d Cir. 1993) (“When it appears to a legal

certainty that the plaintiff was never entitled to recover the minimum amount set by

Section 1332, the removed case must be remanded . . . .”). “The rule does not require

the removing defendant to prove to a legal certainty the plaintiff can recover”

$5,000,000. Id. at 195 (quoting Valley v. State Farm Fire and Cas. Co., 504 F. Supp.

2d 1, 3-4 (E.D.Pa. 2006).) Rather, the removing defendant must "justify [its]

allegations by a preponderance of the evidence." Frederico, 507 F.3d at 197, citing

McNutt v. General Motors Acceptance Corp., 298 U.S. 178, 189 (1936). The

preponderance of the evidence standard means the defendant must provide evidence

establishing that it is 'more likely than not' that the amount in controversy exceeds

[the statutory minimum]." Sanchez v. Monumental Life Ins. Co., 102 F.3d 398, 404

(9th Cir. 1996); Frederico, 507 F.3d at 196. Without admitting that Plaintiffs or the

purported class could recover any damages, the amount in controversy in this action

exceeds $5,000,000.00, exclusive of interest and costs, as established below.


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      Case 3:23-cv-02128-JKM Document 1-3 Filed 12/22/23 Page 13 of 62




      20.    Claim for Negligence. Plaintiffs bring a claim for negligence. [Compl.,

¶¶ 111-20.] Specifically, Plaintiffs claim that Defendants had a duty to exercise

reasonable care in safeguarding and protecting Plaintiffs’ and Class Members’

Personal Information in their possession. The Complaint claims that as a result of

Defendants’ alleged breach of its duty, “Plaintiffs and Class Members have suffered

injuries.” [Compl. ¶ 119.]

      21.    The Complaint contains no allegations that would support or suggest

the amount of damages Plaintiffs or any of the putative Class Members allegedly

sustained. Nevertheless, combining Plaintiffs’ and the putative Class Members'

alleged negligence damages with their other damages' claims adds even more to the

total amount in controversy in excess of $5,000,000.

      22.    Claim for Negligence Per Se. In addition to the negligence claim,

Plaintiffs bring a claim for negligence per se, based on Defendants’ alleged violation

of the duty established by the Health Insurance Portability and Accountability Act

of 1996 (“HIPAA”), 42 U.S.C. § 1302(d), et seq. [Compl. ¶¶ 121-134.] This count

also alleges violation of Section 5 of the FTC Act, 15 U.S.C. § 45(a)(1). [Id.]

      23.    Plaintiffs’ claim that as a result of Defendants’ alleged violations of the

above federal statutes and regulations, “Plaintiffs and class members have been

injured…and are entitled to damages, including compensatory, punitive, and

nominal damages, in an amount to be proven at trial.” [Compl. ¶ 134.] Plaintiffs’


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      Case 3:23-cv-02128-JKM Document 1-3 Filed 12/22/23 Page 14 of 62




negligence per se claim adds even more to the total amount in controversy in excess

of $5,000,000.

      24.    Claim for Breach of Fiduciary Duty. The Complaint alleges that

“Defendants’ acceptance and storage of Plaintiffs’ and Class Members’ PII/PHI

created a fiduciary relationship” and that, because of “Defendants’ breach of its

fiduciary duties, Plaintiffs and Class Members have suffered and will suffer injury.”

[Compl. ¶¶ 137, 139.] Plaintiffs’ breach of fiduciary duty claim adds even more to

the total amount in controversy in excess of $5,000,000.

      25.    Claim for Breach of Implied Contract. Plaintiffs claim to have “entered

into implied contracts with Defendants” under which “protection of PII/PHI was a

material term.” [Compl. ¶¶ 141-43.] Plaintiffs further allege that they and putative

Class Members were “damaged by Defendants’ breach of implied contracts.”

[Compl. ¶¶ 147.] Plaintiffs’ breach of implied contract claim adds even more to the

total amount in controversy in excess of $5,000,000.

      26.    Violations of the PA Unfair Trade Practices and Consumer Protection

Act. Plaintiffs claim that Defendants’ actions constituted unfair and deceptive trade

practices under Pennsylvania law. [Compl., ¶¶ 156-64.] Plaintiffs claim that they

and putative Class Members “are entitled an award of actual damages or $100,

whichever is greater, costs, reasonable attorney’s fees, and any additional

relief…including treble damages, punitive damages, and equitable relief.” [Compl.


                                         9
      Case 3:23-cv-02128-JKM Document 1-3 Filed 12/22/23 Page 15 of 62




¶ 164.]

      27.    Violations of the Pennsylvania unfair trade practices and consumer

protection act, alone, are sufficient to bring the amount in controversy above the

$5,000,000 CAFA threshold.

      28.    Attorneys’ Fees. In addition, Plaintiff seeks attorneys’ fees, which “can

exceed six figures in a class action and are properly aggregated and considered for

purposes of determining the amount in controversy under CAFA.” Id. (citing 28

U.S.C. § 1332(d)(6) and Suber v. Chrysler Corp., 104 F.3d 578, 585 (3d Cir. 1997))

(“Moreover, in calculating the amount in controversy, we must consider potential

attorneys’ fees.”). Assuming 25% of attorneys’ fees recovered on the total amount,

the attorneys’ fees in this case could far exceed the $5,000,000.00 removal threshold.

                                         NOTICE

      29.    Defendants submit this Notice without waiving any defenses to the

claims asserted by Plaintiffs or conceding that Plaintiffs have pled claims upon

which relief can be granted. To the contrary, Defendants dispute both the viability

of Plaintiffs’ claims and their ability to recover any damages.

      30.    The State Court from which this action was removed and in which this

action was commenced is within this Court’s district and division.

      31.    This Notice of Removal will be filed promptly with the State Court, as

required by 28 U.S.C. § 1446(d). See, Exhibit B.


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         Case 3:23-cv-02128-JKM Document 1-3 Filed 12/22/23 Page 16 of 62




         32.      By copy of this document and in accordance with the Certificate of

Service, Defendants are providing notice to all Parties in this action advising of the

filing of this Notice of Removal pursuant to 28 U.S.C. § 1446(d).

         WHEREFORE, Defendants pray that the above action now pending against it

in Court of Common Pleas of Lackawanna County be removed therefrom to this

Court.

                                                Respectfully submitted,

                                                JACKSON LEWIS P.C.



                                                Michael S. Friedman (PA #88228)
                                                1601 Cherry Street, Suite 1350
                                                Philadelphia, PA 19102
                                                T: (267) 319-7802
                                                F: (215) 399-2249
                                                michael.friedman@jacksonlewis.com


Dated: December 22, 2023
                                                ATTORNEYS FOR DEFENDANT
4855-8072-1304, v. 1




                                           11
JS 44 (Rev. 04/21)              Case 3:23-cv-02128-JKM  Document
                                                    CIVIL COVER1-3SHEET
                                                                    Filed 12/22/23 Page 17 of 62
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)
I. (a) PLAINTIFFS                                                                                        DEFENDANTS
       Dennis Ross and Angela Schuh, on behalf of themselves                                             COMMUNITY HEALTH SYSTEMS, INC., CHSPSC, LLC,
       and all others similarly situated,                                                                WILKES-BARRE HOSPITAL COMPANY, LLC, d/b/a
   (b) County of Residence of First Listed Plaintiff                                                     COMMONWEALTH
                                                                                                         County of Residence of FirstHEALTH,     MOSES
                                                                                                                                     Listed Defendant    TAYLOR
                                                                                                                                                      Out-Of-State
                                (EXCEPT IN U.S. PLAINTIFF CASES)                                                                (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                         NOTE:      IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                    THE TRACT OF LAND INVOLVED.

   (c) Attorneys (Firm Name, Address, and Telephone Number)                                               Attorneys (If Known)
         Richard Shenkan, Shenkan Injury Lawyers, LLC, P.O.                                              Jackson Lewis PC, 1601 Cherry Street, Suite 1350,
         Box 7255, New Castle, PA 16107, (800) 601-0808                                                  Philadelphia, PA 19102, (267) 319-7802
II. BASIS OF JURISDICTION (Place an “X” in One Box Only)                                     III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
                                                                                                      (For Diversity Cases Only)                                    and One Box for Defendant)
  1    U.S. Government                 3   Federal Question                                                                    PTF        DEF                                         PTF      DEF
         Plaintiff                           (U.S. Government Not a Party)                      Citizen of This State            1          1      Incorporated or Principal Place         4     4
                                                                                                                                                     of Business In This State

  2    U.S. Government                 4   Diversity                                            Citizen of Another State            2          2   Incorporated and Principal Place           5         5
         Defendant                           (Indicate Citizenship of Parties in Item III)                                                           of Business In Another State

                                                                                                Citizen or Subject of a             3          3   Foreign Nation                             6         6
                                                                                                  Foreign Country
IV. NATURE OF SUIT (Place an “X” in One Box Only)                                                                                   Click here for: Nature of Suit Code Descriptions.
          CONTRACT                                               TORTS                            FORFEITURE/PENALTY                       BANKRUPTCY                       OTHER STATUTES
  110 Insurance                      PERSONAL INJURY              PERSONAL INJURY                  625 Drug Related Seizure             422 Appeal 28 USC 158             375 False Claims Act
  120 Marine                         310 Airplane                365 Personal Injury -                 of Property 21 USC 881           423 Withdrawal                    376 Qui Tam (31 USC
  130 Miller Act                     315 Airplane Product            Product Liability             690 Other                                28 USC 157                        3729(a))
  140 Negotiable Instrument               Liability              367 Health Care/                                                         INTELLECTUAL                    400 State Reapportionment
  150 Recovery of Overpayment        320 Assault, Libel &            Pharmaceutical                                                     PROPERTY RIGHTS                   410 Antitrust
      & Enforcement of Judgment           Slander                    Personal Injury                                                    820 Copyrights                    430 Banks and Banking
  151 Medicare Act                   330 Federal Employers’          Product Liability                                                  830 Patent                        450 Commerce
  152 Recovery of Defaulted               Liability              368 Asbestos Personal                                                  835 Patent - Abbreviated          460 Deportation
       Student Loans                 340 Marine                      Injury Product                                                         New Drug Application          470 Racketeer Influenced and
       (Excludes Veterans)           345 Marine Product              Liability                                                          840 Trademark                         Corrupt Organizations
  153 Recovery of Overpayment             Liability             PERSONAL PROPERTY                           LABOR                       880 Defend Trade Secrets          480 Consumer Credit
      of Veteran’s Benefits          350 Motor Vehicle           370 Other Fraud                   710 Fair Labor Standards                 Act of 2016                       (15 USC 1681 or 1692)
  160 Stockholders’ Suits            355 Motor Vehicle           371 Truth in Lending                  Act                                                                485 Telephone Consumer
  190 Other Contract                     Product Liability       380 Other Personal                720 Labor/Management                 SOCIAL SECURITY                       Protection Act
  195 Contract Product Liability     360 Other Personal              Property Damage                   Relations                        861 HIA (1395ff)                  490 Cable/Sat TV
  196 Franchise                          Injury                  385 Property Damage               740 Railway Labor Act                862 Black Lung (923)              850 Securities/Commodities/
                                     362 Personal Injury -           Product Liability             751 Family and Medical               863 DIWC/DIWW (405(g))                Exchange
                                         Medical Malpractice                                           Leave Act                        864 SSID Title XVI                890 Other Statutory Actions
      REAL PROPERTY                    CIVIL RIGHTS             PRISONER PETITIONS                 790 Other Labor Litigation           865 RSI (405(g))                  891 Agricultural Acts
  210 Land Condemnation              440 Other Civil Rights      Habeas Corpus:                    791 Employee Retirement                                                893 Environmental Matters
  220 Foreclosure                    441 Voting                  463 Alien Detainee                    Income Security Act              FEDERAL TAX SUITS                 895 Freedom of Information
  230 Rent Lease & Ejectment         442 Employment              510 Motions to Vacate                                                  870 Taxes (U.S. Plaintiff             Act
  240 Torts to Land                  443 Housing/                    Sentence                                                                or Defendant)                896 Arbitration
  245 Tort Product Liability             Accommodations          530 General                                                            871 IRS—Third Party               899 Administrative Procedure
  290 All Other Real Property        445 Amer. w/Disabilities -  535 Death Penalty                     IMMIGRATION                           26 USC 7609                      Act/Review or Appeal of
                                         Employment              Other:                            462 Naturalization Application                                             Agency Decision
                                     446 Amer. w/Disabilities -  540 Mandamus & Other              465 Other Immigration                                                  950 Constitutionality of
                                         Other                   550 Civil Rights                      Actions                                                                State Statutes
                                     448 Education               555 Prison Condition
                                                                 560 Civil Detainee -
                                                                     Conditions of
                                                                     Confinement
V. ORIGIN (Place an “X” in One Box Only)
  1 Original             2 Removed from                     3     Remanded from               4 Reinstated or             5 Transferred from      6 Multidistrict                     8 Multidistrict
    Proceeding             State Court                            Appellate Court               Reopened                    Another District          Litigation -                      Litigation -
                                                                                                                            (specify)                 Transfer                          Direct File
                                       Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                                       28 U.S.C. Sections 1331, 1332(d), 1441, and 1446
VI. CAUSE OF ACTION Brief description of cause:
                                       Negligence - Protected Health Information
VII. REQUESTED IN                           CHECK IF THIS IS A CLASS ACTION                        DEMAND $                                    CHECK YES only if demanded in complaint:
     COMPLAINT:                             UNDER RULE 23, F.R.Cv.P.                                                                           JURY DEMAND:           Yes       No
VIII. RELATED CASE(S)
                                           (See instructions):
      IF ANY                                                       JUDGE          Waverly D. Crenshaw                                   DOCKET NUMBER 3:23-cv-00285
DATE                                                                 SIGNATURE OF ATTORNEY OF RECORD
Dec 22, 2023
FOR OFFICE USE ONLY

  RECEIPT #                     AMOUNT                                    APPLYING IFP                                    JUDGE                           MAG. JUDGE
      Case 3:23-cv-02128-JKM Document 1-3 Filed 12/22/23 Page 18 of 62




                 UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

DENNIS ROSS and ANGELA SCHUH,
on behalf of themselves and all others
similarly situated,

                          Plaintiffs,

       v.                                    Civil Action No.: 23-cv-05082

COMMUNITY HEALTH SYSTEMS,
INC., CHSPSC, LLC, WILKES-BARRE
HOSPITAL COMPANY, LLC, d/b/a
COMMONWEALTH HEALTH,
MOSES TAYLOR HOSPITAL,
REGIONAL HOSPITAL OF
SCRANTON, SCRANTON HOSPITAL
COMPANY, LLC, and WILKES-
BARRE GENERAL HOSPITAL,

                          Defendants.

                       CERTIFICATION OF SERVICE

      I hereby certify that true and correct copies of Defendants’ Notice and Petition

for Removal, Notice of Compliance with 23 U.S.C. § 1446(d), Civil Cover Sheet,

and this Certification of Service was served this 22nd day of December, 2023, via

overnight mail, upon the following:

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